Case 2:05-cr-200l7-.]DB Document 28 Filed 08/16/05 Page 1 of 2 Page|D 29

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WESTERN DIVISION h
UNITED STATES OF AMERICA, *
Plaintiff, *
V. * CR. NO. 05-20017-B
MICHAEL J. LEWIS , *
Defendant. *

 

ORDER GRANTING MOTION TO CONTINUE

 

IT APPEARING TO THIS HONORABLE COURT, that upon the filed motion of Counsel
for the Defendant, there being no objection from the Assistant U.S. Attorney and for good cause

shoWn, that this motion is well taken and should be granted The sentencing hearing is therefore

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NRABLE DANIEL BREEN
CT COURT JUDGE

DATE; S// {o[€-)§

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This notice confirms a copy of the document docketed as number 28 in
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Honorable J. Breen
US DISTRICT COURT

